                   IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:09 CR 13


UNITED STATES OF AMERICA,                     )
                                              )
      Plaintiff                               )
                                              )
      V                                       )              ORDER
                                              )
YVONNE MARIE FOUNTAIN,                        )
                                              )
      Defendant.                              )



      THIS MATTER is before the court on Clinton L. Rudisill’s Application for

Admission to Practice Pro Hac Vice of Sherlock V. Grigsby. It appearing that

Sherlock V. Grigsby is a member in good standing with the Bar of the District of

Columbia and will be appearing with Clinton L. Rudisill, a member in good standing

with the Bar of this court, that all admission fees have been paid, and that the email

address of the attorney seeking admission has been provided, the court enters the

following Order.

                                    ORDER

      IT IS, THEREFORE, ORDERED that Clinton L. Rudisil’s Motion for

Application Pro Hac Vice (#235) of Sherlock V. Grigsby is GRANTED, and that

Sherlock V. Grigsby is ADMITTED to practice, pro hac vice, before the Bar of this

court while associated with Clinton L. Rudisill.

                                          Signed: May 26, 2009




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